 

AO 91 (Rev, 11/11) Criminal Complaint

 

 

 

 

 

UNITED STATES DISTRICT COURT RECEIVED
District of Maryland ,
AT BALTIMORE
CLERK, US,
United States of America ) BY GISTRIGT OR MARGRET
v. ) DEPUTY
. ) Case No. 7
} 16-084 2saG
MICHAEL KEY )
}
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 19, 2015 in the county of in the
District of Maryland , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 922(g)(1) Felon in possession of a firearm

This criminal complaint is based on these facts:

See attached Affidavit.

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inant 's signature

Special Agent Lisa Christy, ATF
Printed name and title

 

Swom to before me and signed in my presence.

 
   

 

 

Date: S } S| 2 “Lee es
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City and state: Baltimore, Maryland Stephanie A. Gallagher, U.S. -‘Magistrate Judge
SS .' Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Your Affiant, Special Agent Lisa Christy, being duly sworn, depose and state as follow in
support of a criminal complaint against and arrest warrant for:

Michael Key, year of birth 1988.
AFFIANT BACKGROUND

1. Your affiant been employed as a Special Agent with the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) since September 9, 2008. Since this time, your affiant
completed the Basic Criminal Investigator Training Course at the Federal Law
Enforcement Center located in Brunswick, Georgia. Your affiant has also completed the
Special Agent Basic Tratning Course at the ATF National Academy located in Glynco,
Georgia. Your affiant is currently assigned to the Baltimore Field Division’s High
Intensity Drug Trafficking Area (HIDTA) Group to conduct criminal investigations into
cases of illegal possession/transfer of firearms, firearms trafficking, violent crimes
involving firearms and narcotics trafficking.

2. Your affiant has been a part of the HIDTA group since April, 2009, and has participated
in numerous search warrants, arrests and street enforcements. Your affiant has been the
case agent on approximately 60 cases involving defendants using and/or possessing
firearms in Baltimore City, and also became an interstate nexus expert in April 2014.

3. Prior to joining ATF, your affiant served as a Philadelphia Police Officer in the 35"
district for about 2 % years. During this time, your affiant’s duties involved responding
to emergency 911 calls, and conducting vehicle and pedestrian investigations. Your
affiant has a Bachelor of Arts Degree in Politics from Ursinus College.

4. I make this Affidavit in support of a criminal Complaint charging the defendant, Michael
Key, with possession of a firearm by a previously convicted person (in violation of 18
U.S.C. § 922(g)(1)). This Affidavit is based on information I have received from other
law enforcement officers and witnesses, and from police and law enforcement reports. I
have not included all of the information known to law enforcement officers in this
Affidavit, but I do not believe that I have omitted any information that would tend to
defeat a showing of probable cause.

PROBABLE CAUSE

1. On October 19, 2015, at approximately 6:40 p.m., Baltimore City Police Officers on
patrol observed the defendant, later identified as Michael Key, walking with his right
hand pressed against his midsection. Once the defendant noticed the presence of the
officers, the defendant turned around and fled from the police in full sprint.

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2. One of the officers exited the car and pursued the defendant on foot, while the remaining
officers chased the defendant in the vehicle. During the pursuit, officers observed the
defendant grabbing the right side of his torso, removing a handgun from his person and
tossing the handgun away from the street and towards the yard of a residence. Officers
caught and apprehended the defendant, and then recovered the firearm at the location
where it was thrown. The defendant was placed under arrest.

3. The firearm was identified as a Walther P22 semi-automatic pistol, and was loaded with
five (5) CCI .22 Long Rifle caliber cartridges. I know from my trainirig and experience
as an ATF agent that Walther handguns are manufactured outside of Maryland, and that
this handgun would have traveled in interstate commerce prior to its recovery in this
state. Examination of the weapon indicates that it appears to be capable of expelling a
projectile by the action of an explosive, to be readily convertible to do so, or to have the
frame or receiver of such a weapon.

 

4, Prior to October 19, 2015, the det endapi ad Been convicted in a court of a crime
punishable by a term of imprisonment exceedi he one year.

 

SA Lisa Christy ~

Bureau of Alcohol, roblevofrearms and Explosives

Sworn to and subscribed before me

This Sy \ SU day b bY April 2016 at Baltimore, Maryland

 

 

Stephanie A, Gallagher >
United States Magistr: ate Judge
District of Maryland

sos

 

 
